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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD A. GORMAN,

                Plaintiff,

        v.                                        CIVIL ACTION NO. 20-4759

ILYA SHPETRIK,

                Defendants.

      NOTICE OF RULE 41(a)(1)(A) DISMISSAL OF DEFENDANTS
      OLEG SHPETRIK, ANNA SHPETRIK AND MARK SHPETRIK

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A), Plaintiff Richard A. Gorman hereby

provides notice of his DIMISSSAL of this action with prejudice.

                                              Respectfully submitted,

                                              LEGAL SERVICES GROUP, PLLC

                                              /s/ George Schooff
                                              George Schooff (P45596)
                                              Admitted Pro Hac Vice
                                              1247 Woodward Avenue, #312
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Date:        June 15, 2022                    Attorney for Plaintiff




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                            CERTIFICATE OF SERVICE

         I hereby certify that on June 15, 2022, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system, which will send

notification of such filing to all parties and counsel of record.



                                                 LEGAL SERVICES GROUP, PLLC

                                                 /s/ George Schooff
                                                 George Schooff (P45596)
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                                                 Detroit, Michigan 48226
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                                                 Attorney for Plaintiff
 Date:      June 15, 2022




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